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                                           UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT

                           Thurgood Marshall U.S. Courthouse 40 Foley Square, New York, NY 10007 Telephone: 212-857-8500

                                                              MOTION INFORMATION STATEMENT

      Docket Number(s): 24-2606                                                                         Caption [use short title]

      Motion for: Pretrial Release




      Set forth below precise, complete statement of relief sought:
       Sean Combs requests that this Court order his
                                                                                               United States of America v. Combs
       release on appropriate bail conditions, and order his
       immediate release pending disposition of this appeal
       under Federal Rule of Appellate Procedure 9(a)(3).




      MOVING PARTY: Sean Combs                                               OPPOSING PARTY: United States of America

                    Plaintiff                     Defendant

                    Appellant/Petitioner       Appellee/Respondent

      MOVING ATTORNEY: Alexandra A.E. Shapiro                   OPPOSING ATTORNEY:            Mary Christine Slavik
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      Court- Judge/ Agency appealed from: Hon. Andrew L. Carter / U.S. District Court for the Southern District of New York

      Please check appropriate boxes:                                            FOR EMERGENCY MOTIONS, MOTIONS FOR STAYS AND
                                                                                 INJUCTIONS PENDING APPEAL:
       Has movant notified opposing counsel (required by Local Rule 27.1):        Has this request for relief been made below?          Yes No
                   Yes       No (explain):                                        Has this relief been previously sought in this court? Yes No

                                                                                  Requested return date and explanation of emergency:

       Opposing counsel’s position on motion:
                   Unopposed        Opposed      Don’t Know
       Does opposing counsel intend to file a response:
                    Yes      _No       Don’t Know



      Is the oral argument on motion requested?               Yes     No (requests for oral argument will not necessarily be granted)


      Has the appeal argument date been set?                  Yes     No If yes, enter date:


      Signature of Moving Attorney:
         /s/ Alexandra A.E. Shapiro                 Date: October 8, 2024             Service :     Electronic        Other [Attach proof of service]

      Form T-1080 (rev. 10-23)
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                            24-2606  United States Court of Appeals
                                                 for the
                                            Second Circuit


                                   UNITED STATES OF AMERICA,
                                                 Appellee,
                                                  — v. —
                                             SEAN COMBS,
                                           Defendant-Appellant.


                         ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK, 24-CR-542 (AS)


                          APPELLANT'S MOTION FOR PRETRIAL RELEASE


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                                              INTRODUCTION

                    Bail “may be denied only in a rare case of extreme and unusual

             circumstances.” United States v. Berrios-Berrios, 791 F.2d 246, 251 (2d Cir.

             1986). This case does involve “extreme and unusual circumstances”—but none

             that typically foreclose bail or warrant forcing Sean Combs to defend himself from

             a prison cell. What is extreme and unusual about this case is that Mr. Combs was

             detained immediately after he was charged, even though he has been in the

             spotlight his entire life, with many of his purported antics and episodes being

             widely reported in the press and known to law enforcement authorities. Indeed,

             hardly a risk of flight, he is a 54-year-old father of seven, a U.S. citizen, an

             extraordinarily successful artist, businessman, and philanthropist, and one of the

             most recognizable people on earth. The sensationalism surrounding his arrest has

             distorted the bail analysis: Mr. Combs was not released pending trial, even though

             he offered to comply with restrictive conditions that would have prevented any

             conceivable risk of flight or danger.

                    The district court detained Mr. Combs in a conclusory, barebones oral

             ruling, apparently because of unspecified concerns that he would “obstruct justice

             and intimidate witnesses.” The government’s arguments about the risk of

             obstruction were based on speculation, resting mainly on untested allegations about

             communications with witnesses in civil cases and communications initiated by

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             supposed witnesses and not Mr. Combs. The government even claimed his public

             denial of a former girlfriend’s allegations in a civil lawsuit constituted “attempts to

             obstruct justice.” If denying accusations by civil plaintiffs could justify pre-trial

             detention, the liberty protections of the Bail Reform Act and the Constitution—not

             to mention the First Amendment—would be meaningless.

                    Throughout the bail proceedings below, Mr. Combs rebutted the

             government’s proffers. But without factfinding or analysis, the district court

             endorsed the government’s exaggerated rhetoric and ordered Mr. Combs detained.

             In so doing, the court committed legal error, rejected a plainly sufficient bail

             package, and violated its obligations under the Bail Reform Act.

                    Mr. Combs is presumed innocent. He traveled to New York to surrender

             because he knew he was going to be indicted. He took extraordinary steps to

             demonstrate that he intended to face and contest the charges, not flee. He

             presented a bail package that would plainly stop him from posing a danger to

             anyone or contacting any witnesses. Under the Bail Reform Act, “liberty is the

             norm, and detention prior to trial or without trial is the carefully limited

             exception.” United States v. Salerno, 481 U.S. 739, 755 (1987).

                    Mr. Combs is entitled to release under Federal Rule of Appellate Procedure

             9 and 18 U.S.C. §3142 and §3145 and immediate release pending disposition of

             this appeal under Federal Rule of Appellate Procedure 9(a)(3).

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                                           ISSUES PRESENTED

                    1.    Whether the district court’s obstruction and witness tampering

             conclusion lacked a factual basis and misapplied the law.

                    2.    Whether the district court erred in concluding no conditions would

             reasonably assure the safety of any other person and the community.

                    3.    Whether the district court erroneously failed to make the factual

             findings required by the Bail Reform Act and weigh the required statutory factors.

                                              BACKGROUND

                    A.    Mr. Combs’ Actions During The Investigation Demonstrate That
                          He Poses No Conceivable Risk Of Flight

                    Long before his indictment, Mr. Combs took numerous steps demonstrating

             his trustworthiness and commitment to proving his innocence in this case. Since

             early 2024, he understood he was the target of a serious federal investigation.

             Nonetheless, he immediately directed his counsel to proactively reach out to

             prosecutors. He subsequently took extraordinary steps to voluntarily surrender and

             try to satisfy any possible government concerns about flight risk.

                    Months before the indictment, on March 13, 2024, Mr. Combs’s counsel

             emailed the assigned AUSAs to introduce himself and asked to speak with the

             prosecutors so he could provide information about the case. A-94. He renewed

             that request five days later. Id. The government never responded.



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                    On March 25, 2024, the government executed search warrants at Mr.

             Combs’ residences in Miami and Los Angeles. A-44. Mr. Combs was personally

             searched, as was his airplane. Id. Counsel agreed to accept service of two grand

             jury subpoenas to Mr. Combs’ businesses. Id.

                    On April 1, 2024, defense counsel took custody of Mr. Combs’ passport and

             advised the government that it would not be returned to him and he would not

             leave the country. A-92. Counsel also promised to advise the government in

             advance of any domestic travel by Mr. Combs, and did so—sharing his

             whereabouts and travel plans at least 9 times from May to August 2024. A-96-

             105.

                    Mr. Combs also put his private airplane up for sale because of the

             investigation and notified the government accordingly. See A-105. And he

             advised that multiple relatives—including his mother and four minor daughters—

             had given counsel their passports. See A-107.

                    Mr. Combs also paid off the outstanding debt of $18 million on his $48

             million home on August 20, 2024, so it could provide unencumbered security for

             any future bail package. A-42, A-46, A-88-89.

                    During this time, counsel continued conferring with the government

             regarding its grand jury subpoenas. Counsel withdrew prior counsel’s motions to




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             quash, conducted voluminous searches, and produced over 144,000 pages of

             documents. A-46.

                    Finally, when counsel informed Mr. Combs that his arrest was likely

             imminent, he immediately relocated to New York City from Miami on September

             5, 2024, to surrender. At that time, his counsel informed the government of his

             intent to surrender. A-45. Counsel offered to continually share Mr. Combs’

             location with the government, id., and asked for a time when Mr. Combs could

             surrender, A-41.

                    B.      Arrest and Charges

                    Despite Mr. Combs’ offer to surrender, on September 16, 2024, the

             government arrested him on a three-count indictment charging racketeering

             conspiracy, 18 U.S.C. §1962(d); sex trafficking, 18 U.S.C. §1591; and interstate

             transportation to engage in prostitution, 18 U.S.C. §2421(a). See A-1-14. The

             government claims the “core of this case” is “freak-off activity,” A-182, which

             allegedly involved “elaborate and produced sex performance that COMBS

             arranged, directed, masturbated during, and often electronically recorded.” A-6.

             Mr. Combs believes the evidence will show that to the extent such activities

             occurred, all individuals who participated were adults voluntarily engaged in

             consensual sex.




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                    C.      Bail Proceedings

                    Mr. Combs was arraigned on September 17, 2024 before Magistrate Judge

             Robyn F. Tarnofsky and pled not guilty. A-118. The government sought

             detention, arguing that Mr. Combs presented a risk of flight, danger to the

             community, and risk of obstruction and witness tampering. Despite Mr. Combs’

             robust bail proposal, Judge Tarnofsky detained him. See A-32-33, A-168.

                    Mr. Combs appealed.

                    The district court (Carter, J.) held a bail hearing on September 18, 2024.

             The court began by noting that the government “primarily seeks detention based on

             a risk of flight and the danger of obstruction of justice or witness tampering.” A-

             171. The court indicated that based upon the parties’ written submissions, its

             “lesser concern … [was] risk of flight,” and its “bigger concern deal[t] with the

             danger of” obstruction and witness tampering. A-171-72.

                         1. The Government’s Proffer Focused On An 8½-year-old Domestic
                            Violence Incident And Vague Allegations Related To Civil Lawsuits

                    The government reiterated the indictment’s allegations and only vaguely

             alluded to possible witness testimony and evidence, primarily relying on a widely

             publicized March 5, 2016 video of Mr. Combs depicting a domestic violence

             incident with a former girlfriend called “Victim-1” in Count Two. The

             government also mentioned text messages and phone calls between Mr. Combs

             and potential witnesses—primarily witnesses in civil lawsuits filed against Mr.

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             Combs. A-20, 23-25; A-129-132; A-188-193. The government went so far as to

             argue that Mr. Combs’ public statements that a civil lawsuit was “riddled with …

             lies,” were “attempts by him to obstruct justice.” A-127.

                       2. The Defense Rebutted Each Of The Government’s Arguments

                    Regarding the March 5, 2016 video, defense counsel explained that Mr.

             Combs and Victim-1 shared a ten-year romantic relationship that was often

             mutually toxic. A-145, A-147-49, A-152, A-217, A-221. Counsel noted that

             “countless written communications…tend to negate any lack of consent and any

             coercion” regarding their sexual activity, and cited evidence showing a long-term

             loving relationship that became strained by mutual infidelity and jealousy. A-52.

             The “overwhelming” “written communications” describing their consensual sexual

             relationship included communications concerning their mutual decision to “bring a

             third party into their intimacy.” A-217-18. The violence depicted in the March 5,

             2016 video was entirely separate, stemming from “jealousy from infidelity” 8½

             years ago. A-217-18, A-221.

                    Defense counsel cited interviews with “half a dozen” male escorts who

             participated in the “Freak Offs” described by the government and confirmed they

             never witnessed anything remotely nonconsensual. A-155. Counsel explained that

             Mr. Combs and Victim-1 both suffered from serious drug problems at the time of




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             the video and subsequently participated in rehab before eventually separating in

             2018. A-149, A-152, A-217-21.

                    Counsel further explained Mr. Combs’ communications regarding Victim-

             1’s November 2023 lawsuit. Years after the couple’s separation, a lawyer

             representing Victim-1 demanded a $30 million payment from Mr. Combs in

             exchange for the rights to a tell-all book Victim-1 had supposedly written. A-150-

             51. When Mr. Combs refused, Victim-1 retained new counsel, who filed a lawsuit,

             which was quickly concluded with a large settlement. Id. This prompted a torrent

             of other lawsuits. A-151. Although Mr. Combs communicated with others about

             the conduct alleged in these civil suits—including individuals the government now

             characterizes as “victims”—at the time, he knew nothing about the SDNY’s

             investigation and was not engaging in any attempted obstruction. Id. The

             government had no response other than to say that Mr. Combs “certainly suspected

             the possibility of an investigation,” citing his statements he “was not supposed to

             be speaking on the phone.” A-188, A-191.

                    Defense counsel also rebutted the government’s other obstruction and

             witness tampering allegations regarding a civil lawsuit filed against Mr. Combs on

             September 10, 2024. After the suit was filed, Mr. Combs spoke with an individual

             the lawsuit identified as a prominent witness to his alleged violence. The

             individual in question was very upset about publicity and wanted to make a public

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             statement that her personal experience diverged from the lawsuit’s allegations. A-

             153-54, A-197-203. As counsel explained, this witness was represented by an

             attorney at the time of the communications and could be an important defense

             witness with whom the defense will likely continue speaking. A-198, A-202-03.

             Counsel further explained that Mr. Combs had, “with counsel’s blessing,” “called

             potential defense witnesses to let them know that counsel would reach out to speak

             with them.” A-50.

                    Notably, search warrant affidavits disclosed to the defense on October 7,

             2024, confirm

                     .

                                                        . But during its proffer to the court, the

             government concealed this fact—which completely undermines its claim that the

             timing of the contacts with the witness in September 2024 suggest obstruction.

                    Although the government vaguely described contacts with two grand jury

             witnesses, it proffered no evidence of any threats or intimidation. The government

             could only state there were “14 total contacts” between Mr. Combs and one

             witness, and another witness who was contacted “multiple times.” A-189.

             Defense counsel explained these contacts involved no obstruction or witness

             tampering. For example, one witness contacted Mr. Combs—not the other way

             around. A-211. She reached out to Mr. Combs and told him, “I’m a grand jury

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             witness.” Id. After Mr. Combs informed defense counsel, he was instructed not to

             contact the witness anymore and didn’t. Id. Of course, the defense explained, it

             must “continue to interview witnesses” to conduct “a responsible defense

             investigation.” A-165.

                    D.      Mr. Combs Proposed A Robust Bail Package With Extremely
                            Restrictive Conditions

                    In addition to the rebutting the government’s proffer, Mr. Combs proposed a

             strong bail package. Prior to the district court hearing, the proposed conditions

             included:

                    - A $50,000,000 bond co-signed by Mr. Combs and seven family
                      members, secured by Mr. Combs’ unencumbered $48,000,000 home, and
                      his mother’s home;
                    - Travel restricted to the Southern District of Florida and Southern and
                      Eastern Districts of New York (to attend Court, meet with counsel, and
                      attend medical appointments);
                    - Home detention with GPS monitoring;
                    - Providing Mr. Combs’ passport to Pretrial Services;
                    - Retaining the passports of five other family members;
                    - Continued efforts to sell Mr. Combs’ airplane and a restriction on
                      bringing the plane to any District in which Mr. Combs is located;
                    - Restricting all visitors to Mr. Combs’ residence, except family,
                      caretakers, and friends not considered to be co-conspirators, with no
                      female visitors except family and mothers of Mr. Combs’ children—with
                      a daily visitor log shared with Pretrial services;
                    - No contact with known grand jury witnesses;
                    - Weekly drug testing by Pretrial Services;
                    - All other standard conditions of pretrial supervision.

             A-42-43.
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                    During the hearing, counsel supplemented the package with the following

             additional conditions—specifically designed to prevent any witness tampering or

             obstruction:

                    - 24/7 monitoring of Mr. Combs by a third-party security force, SAGE
                      Intelligence, which employs former federal and state law enforcement
                      officers;
                    - No access to the internet;
                    - No phones;
                    - Restrict visitor access to only a preapproved list of visitors to be shared
                      with the government, Pretrial Services, and the court;

                    - Video camera monitoring of Mr. Combs if necessary.

             A-203-07, A-215.

                    In addition, during the hearing, defense counsel repeatedly made clear Mr.

             Combs would accept any other conditions the court deemed necessary. Counsel

             offered “to put together a protocol so that the court is absolutely satisfied and

             comfortable that there is quite literally no way that Mr. Combs would be able to

             conduct any kind of contact…do anything with a witness of any nature.” A-204;

             see also A-206 (“[W]e’ll do whatever needs to be done.”); A-224 (“[W]e can have

             any protocol that your Honor sees fit…we can do whatever your Honor thinks is

             necessary.”).




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                    E.      The District Court’s Ruling

                    The court denied bail and granted the government’s detention request at the

             end of the September 18, 2024 hearing, stating:

                            I find that the government has carried its burden of persuasion
                            by clear and convincing evidence on dangerousness both for
                            obstruction and witness tampering, as well as danger more
                            generally, even if the defense has rebutted the presumption by
                            coming forward with their burden of production.

             A-225. The court stated it “need not reach” flight risk. Id.

                    The court further stated “the government has proven by clear and convincing

             evidence that there is no condition or combination of conditions that will

             reasonably assure the safety of a person in the community, as well that [Mr.

             Combs] will not obstruct justice or tamper with witnesses.” A-225-26.

                    The court rejected Mr. Combs’ proposed bail package and adopted the

             government’s argument that, under the proposed conditions, “the defendant would

             still have access to employees and other individuals” and thus “could … obstruct

             justice and intimidate witnesses through those folks, through even coded messages

             if necessary.” A-226.

                    The court made no findings of fact, and provided no further indication why

             it concluded detention was necessary.

                    On October 3, 2024, the case was reassigned to Judge Arun Subramanian.




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                                        STANDARDS OF REVIEW

                    Rulings of law in bail proceedings are reviewed de novo, United States v.

             English, 629 F.3d 311, 319 (2d Cir. 2011), while historical facts are reviewed for

             clear error, United States v. LaFontaine, 210 F3d 125, 130 (2d Cir. 2000). “[The]

             scope of review is slightly broader with respect to the ‘ultimate determination’ that

             a defendant does, or does not, present a risk” of flight or danger. United States v.

             Ferranti, 66 F.3d 540, 542 (2d Cir. 1995). Whether conditions will reasonably

             assure the defendant’s appearance and the safety of the community is a mixed

             question of law and fact reviewed for clear error. Id.

                    “The clearly erroneous standard does not apply … if the court has made an

             error of law,” in which case the court’s findings “should be set aside.” United

             States v. Shakur, 817 F.2d 189, 196-97 (2d Cir. 1987). “If, for example, the court

             does not consider the factors set forth in 18 U.S.C. §3142(g) in reaching its

             ultimate finding on the existence or nonexistence of conditions, the finding will be

             subject to more flexible review.” Id. at 197. The court’s finding will also be

             “subject to plenary review if it rests on a predicate finding which reflects a

             misperception of a legal rule applicable to the particular factor involved.” Id.




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                                                ARGUMENT

             I.     The District Court Erroneously Concluded That Mr. Combs Presented
                    A Risk Of Obstructing Justice And Witness Tampering

                    This Court has held that “‘clear and convincing’ evidence that there exists a

             serious risk” of obstruction or witness tampering can justify pretrial detention.

             United States v. Leon, 766 F.2d 77, 82 (2d Cir. 1985); LaFontaine, 210 F.3d at

             132. But there was no clear and convincing evidence supporting detention here.

             The circumstances justifying detention in prior cases were completely different,

             and the court’s contrary conclusion reflects a “misperception” of the applicable

             law. Shakur, 817 F.2d at 197.

                    First, the government’s proffer concerning alleged obstruction and witness

             tampering was too thin to support detention. The proffer highlighted two points:

             the March 5, 2016 video and Mr. Combs’ alleged contacts with witnesses.

             Regarding the 8½-year-old video, the defense’s robust competing proffer explained

             Mr. Combs’ decade-long consensual relationship with Victim-1, the video’s

             context, and that both parties had subsequently participated in drug rehabilitation.

                    And the witness contacts the government cited were minimally relevant or

             entirely innocuous. For example, the government emphasized that Mr. Combs had

             contacted witnesses. But these contacts were largely related to civil suits filed

             before the indictment, and most occurred before Mr. Combs even knew there was



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             an investigation. These communications—the substance of which the government

             did not fully disclose—hardly reflect threats, obstruction, or witness tampering.

                    Even with respect to two grand jury witnesses the government claims Mr.

             Combs contacted, the government could only vaguely represent that there were “14

             total contacts” between Mr. Combs and one witness, and that another witness was

             contacted “multiple times.” A-189. That was it. The government provided no

             further detail. Nor did the government share how these witnesses even perceived

             the contacts. The government’s silence on this point is telling because the proffer

             was implausible on its face. While the government suggested “[w]itnesses have

             universally, one for one, expressed to [prosecutors] their extreme fear of [Mr.

             Combs], extreme,” A-187, at least one of these witnesses proactively reached out

             to Mr. Combs to tell him she was a grand jury witness, A-211. And once defense

             counsel learned Mr. Combs was contacted by a potential grand jury witness, they

             immediately instructed him to cease any such contact, which he did. Id.

                    Clear and convincing evidence “requires that the evidence support [the]

             conclusion with a high degree of certainty.” United States v. Chimurenga, 760

             F.2d 400, 405 (2d Cir. 1985). The government did not meet this burden. The

             proffer provided no basis to believe Mr. Combs had threatened, intimidated, or

             otherwise attempted to tamper with witnesses and fell far short of demonstrating a

             “serious risk” of obstruction or witness tampering in the future. Leon, 766 F.2d at

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             82. In any case, the defense’s competing proffer adequately rebutted the

             government’s allegations and—at a minimum—left the evidence in equipoise.

                    Second, the court misapplied precedent. The cases the government relied

             upon are far afield. In Leon, for example, there was “ample proof that the

             defendant ha[d] threatened two potential witnesses,” including through explicit

             threats to his arresting officers that he would “get even” and “see to it” they went

             on “a very long vacation.” Id. at 78-79. “The findings of threats … rest[ed] on

             strong evidence in the record,” including witness testimony at the bail hearing. Id.

             at 81. And LaFontaine was a bail revocation decision under 18 U.S.C. §3148, so a

             much lower burden of proof—probable cause—applied. 210 F.3d at 133-34. Even

             still, LaFontaine rested on actual evidence that while on bail, the defendant

             shredded documents, attempted to contact and intimidate witnesses, and lied in an

             affidavit to the court. Id. at 129. The non-binding decision in United States v.

             Bankman-Fried, No. 23-6914-cr (2d Cir. Sept. 21, 2023), likewise involved a bail

             revocation proceeding under the lower probable cause standard.

                    In cases where the government’s proffer is as thin as the one here, “the risk

             of witness tampering or obstruction” is not supported “by clear and convincing

             evidence.” United States v. Stein, 05-CR-0888 (LAK), 2005 WL 8157371, at *2

             (S.D.N.Y. Nov. 14, 2005). Although the district court never explained its




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             reasoning, see infra Point III—it appears to have erroneously adopted the

             government’s exaggerated rhetoric.

                    There was no factual or legal basis for detaining Mr. Combs. He is entitled

             to pretrial release.

             II.    The District Court Erroneously Concluded No Conditions Of Release
                    Could Suffice

                    Pre-trial detention is permissible only if the district court finds “that no

             condition or combination of conditions will reasonably assure the appearance of

             the person as required and the safety of any other person and the community.” 18

             U.S.C. §3142(e)(1). The court has an “obligation to consider all possible

             alternatives to preventive detention.” Berrios-Berrios, 791 F.2d at 251. Where, as

             here, “the court’s ultimate finding … rests on a predicate finding which reflects a

             misperception of a legal rule,” the court’s decision is “subject to plenary review.”

             Id. (citing Shakur, 817 F.2d at 197).

                    The court erroneously rejected Mr. Combs’ proposed bail package, which

             was plainly sufficient. The government claimed the proposed conditions “do not

             speak at all to [Mr. Combs’] risk of obstruction,” as they “still contemplate him

             having staff and visitors.” A-112. But counsel adequately addressed these

             concerns at the bail hearing by proposing additional conditions. These more

             restrictive conditions prohibited internet and phone access and included 24/7



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             monitoring by well-trained third-party security personnel and video monitoring if

             necessary.

                    The proposed conditions reasonably mitigate any perceived risk. The Bail

             Reform Act expressly contemplates releasing a defendant into “the custody of a

             designated person[ ] who agrees to assume supervision ... if the designated person

             is able reasonably to assure the judicial officer that the person will appear as

             required and will not pose a danger to the safety of any other person or the

             community.” 18 U.S.C. §3142(c)(1)(B)(i). There is no reason 24/7 monitoring by

             trained third-party former state and federal law enforcement officers could not

             prevent obstruction, particularly where the defendant will not have electronic

             devices and thus could not directly contact any witnesses. Courts have found

             similar proposals sufficient to ensure against obstruction, flight risk, and danger in

             past cases. See United States v. Williams, No. 07-CR-1102 (JSR), 2008 WL

             686622, at *1 (S.D.N.Y. Mar. 12, 2008) (concluding proposed conditions

             reasonably mitigated danger to community and risk of witness tampering because

             if a defendant is “strictly confined to [an] apartment … [with] electronic

             monitoring, there is no meaningful likelihood [he] will engage in any conduct

             constituting a danger”); United States v. Sabhnani, 493 F.3d 63, 77 (2d Cir. 2007)

             (describing a comparable package as “extraordinary” and vacating and remanding




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             for release on stated conditions); United States v. Dreier, 596 F. Supp. 2d 831, 833

             (S.D.N.Y. 2009) (approving similar bail package).

                    The district court rejected the proposed bail package for purely speculative

             reasons. The court stated the proposed conditions would permit Mr. Combs to

             “obstruct justice and intimidate witnesses” through “employees and other

             individuals” and “even coded messages if necessary.” A-226. There was,

             however, not a shred of evidence that Mr. Combs had used third parties to tamper

             with witnesses through “coded messages.” Nor did the government cite any

             evidence supporting its bald claim that Mr. Combs “used intermediaries to reach

             out to people.” A-190. Instead, their proffered example involved a direct

             contact—one that occurred in November 2023, when the only pending proceeding

             was a civil suit: The government alleged that after Victim-1 filed her lawsuit,

             another alleged “victim” (also a girlfriend) initiated contact by texting Mr. Combs,

             who subsequently called her and recorded their conversations on another person’s

             phone. Id. This didn’t involve an “intermediary” and is hardly evidence of

             obstruction. Even apart from the fact that Mr. Combs could not have

             “contemplat[ed] any particular official proceeding” at the time, 1 why would a



             1
               Arthur Andersen v. United States, 544 U.S. 696, 707 (2005) (18 U.S.C. §1512
             requires “‘nexus’ between the obstructive act and the proceeding”); see also United
             States v. Aguilar, 515 U.S. 593, 599-600 (1995) (18 U.S.C. §1503 requires
             knowledge that one’s actions will affect pending grand jury proceeding).
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             person engaged in witness tampering record the conversation? He was obviously

             recording the exchange to protect himself from further false accusations.

                    Regardless, as a practical matter the conditions are sufficient to alleviate any

             purported obstruction risk. The proposed package contemplated a pre-approved

             visitor list, and counsel made clear it could be further limited in any way the court

             saw fit. See A-204, A-206, A-224. The only necessary visitors are members of the

             defense team, who obviously will not be assisting any effort to obstruct justice. To

             the extent family members are approved for the visitor list, security and video

             monitoring is sufficient to ensure against the purported risk of any attempt to

             indirectly contact a witness. 2 The same would be true if employee visits were

             contemplated, but to be clear, there is no need for concern about “employees and

             friends and the like.” A-216. Mr. Combs will not request that any employee or

             friend be permitted to visit him. Nor would it be “necessary for him to speak with”

             employees. A-214. 3

                    For such conditions to be adequate, the Act requires only a “reasonable

             assurance [and] does not demand absolute certainty.” United States v. Alston, 420



             2
               Since there was no history of “coded messages,” there is zero risk of Mr. Combs
             using such code under monitoring. How would any visitor even know how to
             interpret the supposed “code”? Using a code requires a prior understanding of the
             meaning of any coded terms.
             3
               Mr. Combs would also consent to home detention within the district, if housing
             can be arranged.
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             F.2d 176, 178 (D.C. Cir. 1969). To require the latter and deny release on

             conditions based on speculative doubts would only be “a disguised way of

             compelling commitment.” Id. Indeed, this Court has already rejected the theory

             that certain “conduct is so extreme and aberrant … such that no set of conditions

             could reasonably assure the safety of the community.” United States v. Mattis, 963

             F.3d 285, 293 (2d Cir. 2020). Here, the conditions proposed were adequate

             relative to the weight of the purported risks. 4

                    Mr. Combs should be released because, regardless of the government’s

             untested allegations, the proposed conditions will reasonably assure his appearance

             and the safety of the community.

             III.   The District Court Erroneously Failed To Make Factual Findings And
                    Weigh The Required 18 U.S.C. § 3142(g) Factors

                    The Bail Reform Act’s statutorily mandated procedures represent

             “Congress’ careful delineation of the circumstances under which [pretrial]

             detention” is acceptable. Salerno, 481 U.S. at 751. Failure to follow these

             procedures, or reliance “on an extrastatutory inquiry,” constitutes “an error of

             law.” Shakur, 817 F.2d at 200, 197. The district court committed legal error by

             failing to make any factual findings or weigh the required factors.




             4
              The district court’s reasoning did not turn on § 3142(e)(3)’s presumption of
             detention, see A-225, which the defense rebutted for the reasons discussed.
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                    The Act unambiguously requires “written findings of fact and a written

             statement of reasons for a decision to detain.” 18 U.S.C. §3142(i)(1). This

             requirement is “specifically designed to further the accuracy” of detention

             hearings, Salerno, 481 U.S. at 752, and is “intended to ensure that the district

             court’s reasons for its decision are sufficiently clear to permit meaningful appellate

             review,” English, 629 F.3d at 321.

                    The Act further states courts “shall … take into account” four factors “in

             determining whether there are conditions of release that will reasonably assure the

             appearance of the person as required and the safety of any other person and the

             community.” 18 U.S.C. § 3142(g). The factors include the nature and

             circumstances of the charges, the weight of the evidence, the defendant’s history

             and characteristics, and the nature and seriousness of any danger to the community.

             Id. § 3142(g)(1)-(4). These factors ensure the Act is administered consistent with

             due process. Salerno, 481 U.S. at 751. Thus, “the district court must consider the

             [18 U.S.C. § 3142(g)] factors,” Mattis, 963 F.3d at 291, as “the ultimate finding …

             properly can be reached only after [their] consideration,” Shakur, 817 F.2d at 196.

                    In the cases the government relied on below, the detention orders were

             supported by detailed factual findings and explicit weighing of the §3142(g)

             factors. See, e.g., United States v. Maxwell, 20-CR-330 (AJN) (S.D.N.Y.), ECF 93

             at 79-91; United States v. Maxwell, 527 F. Supp. 3d 659 (S.D.N.Y. 2021), aff’d,

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             No. 21-770 (2d Cir. Apr. 27, 2021); United States v. Kelly, No. 19-CR-286

             (AMD), 2020 WL 2528922 (E.D.N.Y. May 15, 2020), aff’d, No. 20-1720, 2020

             WL 7019289 (2d Cir. Sept. 8, 2020); United States v. Epstein, 425 F. Supp. 3d

             306, 309 (S.D.N.Y. 2019); United States v. Raniere, No. 18-CR-204-1 (NGG),

             2018 WL 3057702, at *1 (E.D.N.Y. June 20, 2018).

                    In contrast, the decision here reflects a wholesale departure from the Act’s

             requirements. The court made no factual findings and failed to weigh the

             statutorily enumerated factors. Although “robotic incantations” are not required,

             Mattis, 963 F.3d at 292, it is not at all clear what “facts the [district court] use[d] to

             support” its decision, 18 U.S.C. §3142(f)(2). Nor is it clear what evidence—if

             any—the court credited, why or on what basis it rejected the defense proffers

             rebutting the government’s claims, or how it made its ultimate determination.

                    The absence of such findings is particularly troubling here because the

             government proceeded largely by proffer—“simply stat[ing] in the most general

             and conclusory terms what it hoped to prove.” United States v. Martir, 782 F.2d

             1141, 1147 (2d Cir. 1986). Although courts may rely on proffers, “the exercise of

             that discretion should reflect an awareness of the high stakes involved.” Id. at

             1145. But here, the district court took no additional steps to “ensure the reliability

             of the evidence,” LaFontaine, 210 F.3d at 131, and because counsel contested the




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             government’s version of events with a competing defense proffer, the evidence

             was—at a minimum—in equipoise.

                    Without meaningful factual findings and weighing of the evidence, the

             detention order lacked any basis. This Court has reversed similarly defective

             detention orders. See United States v. Friedman, 837 F.2d 48, 50 (2d Cir. 1988)

             (vacating and remanding where detention “order contain[ed] only implicit findings

             relating to risk of flight” and “no finding whatsoever on [obstruction]”); Berrios-

             Berrios, 791 F.2d at 251 (remanding where district court “fail[ed] to explain on the

             record” the basis for conclusions). It should do so here too.

                                               CONCLUSION

                    For the foregoing reasons, the district court’s detention order should be

             reversed. The Court should order Mr. Combs’ release under the conditions

             proposed below, or any additional conditions the Court deems necessary.


             Dated:    New York, New York                  /s/Alexandra A.E. Shapiro
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                    1. The undersigned counsel of record for Defendant-Appellant Sean Combs

             certifies pursuant to Federal Rule of Appellate Procedure 27 that the foregoing

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